                                              Case 3:16-cv-02995-DMS-AGS Document 3 Filed 01/24/17 PageID.21 Page 1 of 1


                                          1     Jessica R. K. Dorman, Esq. (SBN: 279919)
                                                jessica@westcoastlitigation.com
                                          2     Robert L. Hyde, Esq. (SBN: 227183)
                                          3     bob@westcoastlitigation.com
                                                HYDE & SWIGART
                                          4     2221 Camino Del Rio South, Suite 101
                                          5     San Diego, CA 92108
                                                Telephone: (619) 233-7770
                                          6     Facsimile: (619) 297-1022
                                          7
                                                Attorneys for Plaintiff,
                                          8     Rosa E. Heredia
                                          9
                                         10                         IN THE UNITED STATES DISTRICT COURT
                                         11                           SOUTHERN DISTRICT OF CALIFORNIA
                                         12
                                         13                                                              Case No.: 3:16-cv-02995-DMS-
HYDE & SWIGART




                                                   Rosa E. Heredia,
                 San Diego, California




                                                                                                         AGS
                                         14
                                                                           Plaintiff,
                                         15                                                              NOTICE OF VOLUNTARY
                                                   v.                                                    DISMISSAL OF ACTION WITH
                                         16                                                              PREJUDICE
                                         17        Cavalry Portfolio Services, LLC,                      HON. DANA M. SABRAW
                                         18
                                                                           Defendant.
                                         19
                                         20
                                         21             Plaintiff ROSA E. HEREDIA hereby move this Court to dismiss the above
                                         22     entitled action with prejudice.
                                         23             WHEREFORE, Plaintiff respectfully requests that this court dismiss this
                                         24     action with prejudice. This court retains jurisdiction for purposes of settlement.
                                         25
                                         26     Dated: January 24, 2017                                  HYDE & SWIGART

                                         27                                                       By: s/Jessica R. K. Dorman
                                                                                                      Jessica R. K. Dorman
                                         28
                                                                                                     Attorney for Plaintiff
                                                 ______________________________________________________________________________________________________
                                                  NOTICE OF VOLUNTARY DISMISSAL                 - 1 of 1 -                  3:16-cv-02995-DMS-AGS
